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                     Exhibit A
               Case 1:10-cv-08858-RMB-MHD Document 122-1 Filed 02/06/12 Page 2 of 7




         From: Victor Gorelick <vicg@archiecomics.com>

         Date: July 29, 2011 2:37:17 PM EDT

         To: Mike Pellerito <mpell@archiecomics.com>

         Subject: FW: I Forgot To Mention



         FYI

         Victor Gorelick
         Co-President/Editor-in-Chief
         Archie Comic Publications, Inc.
         325 Fayette Avenue
         Mamaroneck, NY 10543

         914-381-5155 Ext. 215
         914-381-2335 Fax
         vicg@archiecomics.com



         -----Original Message-----
         From: Ken Penders [mailto:KenPenders@kenpenders.com]
         Sent: Thursday, December 04, 2008 11:15 PM
         To: Victor Gorelick
         Subject: Re: I Forgot To Mention

         Victor,

         My apologies for any confusion I may have caused. I've been trying to
         get my files in order now that we're finally settled in at a permanent
         location in LA, and the only outstanding issues I have with regards to
         Archie Comics are:

         1) Original art to 3 stories I worked on which were printed in SONIC
         #152, 159 and 169. These were edited by Mike Pellerito.

         2) A copy of the work-for-hire form that Scott Fulop originally sent
         to me. This was back in late '95.

         If you turn up either the form or the original art or both, it would




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         greatly be appreciated if they were sent to the following address:

         Ken Penders
         824 S. Norton Avenue
         Los Angeles, CA
         90005-3656

         In the meantime, here's wishing you and your family a safe, happy and
         healthy holiday season. Thanks very much. Take care.

         Best,
         Ken




         On Dec 4, 2008, at 8:20 AM, Victor Gorelick wrote:




         Ken,

         Are you sure you have the numbers of those issues correct. I think

         Scott

         Fulop was long gone when those were published. Let me know.

         Victor




         Victor Gorelick

         Co-President/Editor-in-Chief

         Archie Comic Publications, Inc.

         325 Fayette Avenue

         Mamaroneck, NY 10543



         914-381-5155 Ext. 217




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              Case 1:10-cv-08858-RMB-MHD Document 122-1 Filed 02/06/12 Page 4 of 7




         914-381-2338 Fax

         vicg@archiecomics.com




         -----Original Message-----

         From: Ken Penders [mailto:KenPenders@kenpenders.com]

         Sent: Thursday, December 04, 2008 10:40 AM

         To: Victor Gorelick

         Subject: I Forgot To Mention



         Victor,



         As I didn't want to take up too much of your time during the phone

         conversation, besides requesting the Work-for-hire agreement I signed

         under Scott, the original art in question is from the later SONIC

         issues I worked on which I wrote, pencilled and inked from #152, 159

         and pages I inked from #169. Thanks.



         Best,

         Ken Penders



         310-927-9497




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               Case 1:10-cv-08858-RMB-MHD Document 122-1 Filed 02/06/12 Page 5 of 7




         Begin forwarded message:




         From: Victor Gorelick <vicg@archiecomics.com>

         Date: July 29, 2011 2:36:41 PM EDT

         To: Mike Pellerito <mpell@archiecomics.com>

         Subject: FW: Happy Holidays (And a Request)



         FYI

         Victor Gorelick
         Co-President/Editor-in-Chief
         Archie Comic Publications, Inc.
         325 Fayette Avenue
         Mamaroneck, NY 10543

         914-381-5155 Ext. 215
         914-381-2335 Fax
         vicg@archiecomics.com



         -----Original Message-----
         From: Ken Penders [mailto:KenPenders@kenpenders.com]
         Sent: Monday, December 15, 2008 2:49 PM
         To: Victor Gorelick
         Subject: Happy Holidays (And a Request)

         Victor,

         I'm just following up on my previous e-mail as it may have gotten lost
         along the way. I've been trying to get my files in order now that
         we're finally settled in at a permanent location in LA, and the only
         outstanding issues I have with regards to Archie Comics are:




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               Case 1:10-cv-08858-RMB-MHD Document 122-1 Filed 02/06/12 Page 6 of 7




         1) Original art to 3 stories I worked on which were printed in SONIC
         #152, 159 and 169. These were edited by Mike Pellerito.

         2) A copy of the work-for-hire form that Scott Fulop originally sent
         to me. This was back in late '95.

         If you turn up either the form or the original art or both, it would
         greatly be appreciated if they were sent to the following address:

         Ken Penders
         824 S. Norton Avenue
         Los Angeles, CA
         90005-3656

         In the meantime, here's wishing you and your family a safe, happy and
         healthy holiday season. Thanks very much. Take care.

         Best,
         Ken




         Begin forwarded message:




         From: Victor Gorelick <vicg@archiecomics.com>

         Date: July 29, 2011 2:36:09 PM EDT

         To: Mike Pellerito <mpell@archiecomics.com>

         Subject: FW: Happy New Year



         FYI

         Victor Gorelick
         Co-President/Editor-in-Chief
         Archie Comic Publications, Inc.
         325 Fayette Avenue
         Mamaroneck, NY 10543




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              Case 1:10-cv-08858-RMB-MHD Document 122-1 Filed 02/06/12 Page 7 of 7




         914-381-5155 Ext. 215
         914-381-2335 Fax
         vicg@archiecomics.com

         -----Original Message-----
         From: Ken Penders [mailto:KenPenders@kenpenders.com]
         Sent: Monday, January 05, 2009 2:39 PM
         To: Victor Gorelick
         Subject: Happy New Year

         Victor,

         I hope the New Year has started off on a positive note for you and
         yours. As I haven't heard from you in response to my previous e-mail,
         I gather it's been as hectic a holiday season for you as it has been
         on this end. I've been trying to get my files in order now that we're
         finally settled in at a permanent location in LA, and the only
         outstanding issues I have with regards to Archie Comics are:

         1) Original art to 3 stories I worked on which were printed in SONIC
         #152, 159 and 169. These were edited by Mike Pellerito.

         2) A copy of the work-for-hire form that Scott Fulop originally sent
         to me. This was back in late '95.

         If you turn up either the form or the original art or both, it would
         greatly be appreciated if they were sent to the following address:

         Ken Penders
         824 S. Norton Avenue
         Los Angeles, CA
         90005-3656

         If the items can't be be located, please let me know so I can check
         this off my list. Thanks very much. Take care.

         Best,
         Ken

         310-927-9497




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